                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE SOUTHERN DISTRICT OF TEXAS

                                   GALVESTON DIVISION

LUIS G. FIGUEROA                               §
                                               §
V.                                             §    CIVIL ACTION NO. G-04-500
                                               §
STEVEN M. HIGGINBOTHAM, ET AL.                 §

                                   OPINION AND ORDER

       Before the Court are the Defendant’s Motion for Partial Summary Judgment and Motion

to Strike Plaintiff’s Summary Judgment Evidence. Having carefully reviewed the Motions, the

Plaintiff’s response, and the Parties summary judgment evidence, this Court issues this Opinion

and Order.

Motion to Strike

       The Defendant’s Motion (Instrument no. 38) is DENIED insofar as it seeks to have Officer

Castanie’s accident report stricken as hearsay. In the opinion of this Court, the accident report

is a public record under Rule 803(8) of the Federal Rules of Evidence and Castanie’s observations

and factual findings included in the report are admissible unless the Defendant can demonstrate

they are untrustworthy. Castanie had a duty to report matters surrounding the accident; he did so

promptly; and the Defendant has not shown that the information contained in the accident report

is not trustworthy. See Baker v. Elcona Homes Corp., 588 F.2d 551 (6th Cir. 1978)

       The Defendant’s Motion to Strike (Instrument no. 38) the deposition testimony of Officers

Castanie, Alonso and Franks regarding the Defendant’s impairment caused by his alcohol ingestion

is GRANTED. This testimony relies, in no small part, on “retrograde extrapolation” of the

Defendant’s blood-alcohol level at the time of the accident.        The science of retrograde
extrapolation has a highly questionable degree of reliability among scientists, as pointed out in the

excellent opinion of the Texas Court of Criminal Appeals in Mata v. State, 46 S.W.3d 902 (Tex.

Crim. App. 2001). Moreover, even if this Court found that such evidence was admissible, none

of the deposed officers has the experience to apply the science and explain it with clarity to the

Court or Jury. Id. 916. Finally, the Court notes that the generally accepted elimination rate of

alcohol from the bloodstream is .015 BAC per hour which would make Defendant’s BAC level

no more than .058 at the time of the accident; far below the .08 proscribed by the Texas Penal

Code. The officers testimony that any alcohol ingestion creates some impairment is speculative,

but even if true, it cannot support a claim for punitive damages. At best it can establish mere

negligence.

       The Defendant’s Motion to Strike (Instrument no. 38) the voluntary statement of Paul

Campbell is GRANTED; the statement was not submitted to the Court and its contents are,

therefore, not before the Court as proper summary judgment evidence.

       The Defendant’s Motion to Strike (Instrument no. 38) the literature cited by Plaintiff is

GRANTED; without a qualified expert witness, the Court cannot consider the literature to be

reliable. See Mata, supra, see also Blumenstetter v. State, 135 S.W.3d 234 (Tex. App. --

Texarkana, 2004)

Motion for Partial Summary Judgment

       In light of the foregoing rulings, the Defendant’s Motion for Partial Summary Judgment

must be granted. The Plaintiff has no admissible evidence sufficient to show that the Defendant

engaged in gross negligence. At best, the Plaintiff’s admissible summary judgment evidence

establishes a “possible” degree of impairment insufficient to preclude the Defendant from legally

                                                 2
driving a motor vehicle at the time of the accident. This alone may, or may not, constitute

negligence; however, it cannot constitute gross negligence. Cf. North America Van Lines v.

Emmons, 50 S.W.3d 103, 128-29 (Tex. App. -- Beaumont, 2001) (Employer not guilty of gross

negligence for allowing employee to operate its truck without a commercial driver’s license where

driver’s eye sight was too poor to pass commercial license test.)     Since Plaintiff’s evidence is

insufficient to support a gross negligence submission to the Jury the Defendant’s Motion for Partial

Summary Judgment (Instrument no. 35) is GRANTED and the Plaintiff’s claim for punative

damages is DISMISSED.

       DONE at Galveston, Texas, this            9th          day of February, 2005.




                                                 3
